InstitutionHistory                                                      http://www.ffiec.gov/nicpubweb/nicweb/InstitutionHistory.aspx?parID_...
                     Case 18-11439-mdc            Doc 17-4 Filed 04/26/18 Entered 04/26/18 18:21:44                     Desc
                                                          Exhibit C Page 1 of 1
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         Institution History for WACHOVIA BANK, NATIONAL ASSOCIATION (484422)

         8 institution history record(s) found.                                                         < Previous Page           Next >
          Event
                                                                   Historical Event
          Date
                       FIRST UNION NATIONAL BANK OF CHARLOTTE located at CHARLOTTE, NC was established as a
          1908-01-01
                       National Bank.
                       FIRST UNION NATIONAL BANK OF CHARLOTTE was renamed to FIRST UNION NATIONAL BANK OF
          1968-05-04
                       NORTH CAROLINA.
                       FIRST UNION NATIONAL BANK OF NORTH CAROLINA was renamed to FIRST UNION NATIONAL
          1982-04-05
                       BANK.
                       FIRST UNION NATIONAL BANK was renamed to FIRST UNION NATIONAL BANK OF NORTH CAROLINA
          1986-07-25
                       and moved to 301 SOUTH TRYON STREET,FIRST UNION PLAZA CHARLOTTE, NC.
                       FIRST UNION NATIONAL BANK OF NORTH CAROLINA was renamed to FIRST UNION NATIONAL
          1997-06-05
                       BANK.
                       FIRST UNION NATIONAL BANK was renamed to WACHOVIA BANK, NATIONAL ASSOCIATION and
          2002-04-01
                       moved to 301 SOUTH TRYON STREET, WACHOVIA PLAZA CHARLOTTE, NC.
                       WACHOVIA BANK, NATIONAL ASSOCIATION moved to 301 SOUTH COLLEGE STREET CHARLOTTE,
          2002-06-17
                       NC.
                       WACHOVIA BANK, NATIONAL ASSOCIATION was acquired by WELLS FARGO BANK, NATIONAL
          2010-03-20
                       ASSOCIATION.


                                                                                                                       Page 1 of 1


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1 of 1                                                                                                                         01/28/2016 3:45 PM
